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    2024 CO 55 Reginald Keith Clark, Petitioner  v.  The People of the State of Colorado. Respondent No. 22SC313Supreme Court of Colorado, En BancAugust 19, 2024
 
 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
 Certiorari to the Colorado Court of Appeals Court of Appeals
 Case No. 19CA340
 
 
 
 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
 for Rehearing DENIED.
 
 
 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
 JUSTICE HOOD and JUSTICE GABRIEL would grant the petition.
 